    Case 14-32038          Doc 32    Filed 06/09/15 Entered 06/11/15 23:48:11      Desc Imaged
                                    Certificate of Notice Page 1 of 4
B18W (Form 18W) (08/07)

                               United States Bankruptcy Court
                                       Northern District of Illinois
                                            Case No. 14−32038
                                               Chapter 13

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   John Ross Myers
   aka John R Myers, aka John Myers
   2895 Harvest Lane
   Lindenhurst, IL 60046
Social Security / Individual Taxpayer ID No.:
   xxx−xx−8517
Employer Tax ID / Other nos.:



                          DISCHARGE OF DEBTOR AFTER COMPLETION
                                   OF CHAPTER 13 PLAN

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).
      If the trustee has filed and served a notice pursuant to Section B2 (b) of the debtor's plan,
and no statement is timely filed by the mortgagee in response, the mortgage addressed by the
notice is deemed to be fully current as of the date of the notice.




                                                     FOR THE COURT


Dated: June 9, 2015                                  Jeffrey P. Allsteadt, Clerk
                                                     United States Bankruptcy Court




                  SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
    Case 14-32038           Doc 32      Filed 06/09/15 Entered 06/11/15 23:48:11                    Desc Imaged
                                       Certificate of Notice Page 2 of 4
Form 18W (08/07)


                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 13 CASE

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

      a. Domestic support obligations;

      b. Debts for most student loans;

      c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      d. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
      willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a case
      filed on or after October 17, 2005);

      f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
      after the date on which the final payment under the plan was due;

      g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
      trustee of the debtor's incurring the debt was practicable but was not obtained;

      h. Debts for most taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
      2005); and

      i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
          Case 14-32038            Doc 32       Filed 06/09/15 Entered 06/11/15 23:48:11                         Desc Imaged
                                               Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 14-32038-ABG
John Ross Myers                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: pseamann                     Page 1 of 2                          Date Rcvd: Jun 09, 2015
                                      Form ID: b18w                      Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 11, 2015.
db             +John Ross Myers,    2895 Harvest Lane,    Lindenhurst, IL 60046-7914
22345123       +ACM Community Management,    3041 Woodcreek Drive,    Suite 100,    Downers Grove, IL 60515-5418
22345124       +Amazon,   1516 2nd Avenue,    Seattle, WA 98101-1543
22345127       +Chase,   3415 Vision Drive,    Mail Code OH4-7142,    Columbus, OH 43219-6009
22788375        Chase Records Center; Attn: Correspondence Mail,     Mail Code: La4-5555; 700 Kansas Lane,
                 Monroe, LA 71203
22345129       +CitiBank, N.A.,    PO Box 790110,   Saint Louis, MO 63179-0110
22345128       +Citibank, N.A.,    399 Park Avenue,    New York, NY 10022-4699
22345130        Citicorp Credit Services,    ATTN: Internal Recovery; Centralized Bk,     P.O. Box 790034,
                 Saint Louis, MO 63179-0034
22345131        Equifax Information Services, LLC,     1550 Peachtree Street NW,    Atlanta, GA 30309
22345132       +Experian Information Solutions, Inc.,     475 Anton Boulevard,    Costa Mesa, CA 92626-7037
22788394        JPMorgan Chase Bank, National Association,     Chase Records Center;,    Attn: Correspondence Mail,
                 Mail Code: LA4-5555; 700 Kansas Lane,     Monroe, LA 71203
22345135       +Lake County Clerk,    18 North County Street, Room 101,     Waukegan, IL 60085-4340
22345138       +Marie Marciniak,    353 Orchard Lane,    Bloomingdale, IL 60108-2528
22345139       +Trans Union LLC,    1561 E. Orangethorpe Avenue,    Fullerton, CA 92831-5210

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
22345125       +EDI: AIS.COM Jun 10 2015 00:54:00      Capital One, N.A. *,   c/o American Infosource,
                 P.O Box 54529,   Oklahoma City, OK 73154-1529
22345126       +EDI: CHASE.COM Jun 10 2015 00:53:00      Chase *,   ATTN: Bankruptcy Department,
                 P.O. Box 15298,   Wilmington, DE 19850-5298
22345133       +E-mail/Text: servicing.requests@flagstar.com Jun 10 2015 01:18:48      Flagstar Bank,
                 Attn: Bankruptcy Dept,   5151 Corporate Drive,    Troy, MI 48098-2639
22345134       +E-mail/Text: servicing.requests@flagstar.com Jun 10 2015 01:18:48      Flagstar Bank,
                 PO BOX 371891,   Pittsburgh, PA 15250-7891
22345136       +E-mail/Text: sdvorak@lakecountyil.gov Jun 10 2015 01:16:01      Lake County Collector,
                 18 N. County Street,   Suite 102,    Waukegan, IL 60085-4361
22345137       +E-mail/Text: sdvorak@lakecountyil.gov Jun 10 2015 01:16:01      Lake County Treasurer,
                 18 N. County Street,   Room 102,    Waukegan, IL 60085-4361
22748514       +E-mail/Text: servicing.requests@flagstar.com Jun 10 2015 01:18:48
                 Matrix Financial Services Corporation,    c/o Flagstar Bank, FSB,   5151 Corporate Dr.,
                 Troy, MI 48098-2639
22668414        EDI: PRA.COM Jun 10 2015 00:53:00      Portfolio Recovery Associates, LLC,
                 successor to CAPITAL ONE, NA,    (CAPITAL ONE),   POB 41067,   Norfolk VA 23541
22709095        EDI: ECAST.COM Jun 10 2015 00:53:00      eCAST Settlement Corporation, assignee,
                 of Citibank (South Dakota), N.A.,    POB 29262,   New York, NY 10087-9262
                                                                                             TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
22788374          JPMorgan Chase Bank, National Association
22788378          JPMorgan Chase Bank, National Association
22788388          JPMorgan Chase Bank, National Association
22788379*         Chase Records Center; Attn: Correspondence Mail,   Mail Code: LA4-5555; 700 Kansas Lane,
                   Monroe, LA 71203
22788389*         Chase Records Center; Attn: Correspondence Mail,   Mail Code: LA4-5555; 700 Kansas Lane,
                   Monroe, LA 71203
                                                                                              TOTALS: 3, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 11, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
        Case 14-32038      Doc 32     Filed 06/09/15 Entered 06/11/15 23:48:11           Desc Imaged
                                     Certificate of Notice Page 4 of 4


District/off: 0752-1          User: pseamann              Page 2 of 2                  Date Rcvd: Jun 09, 2015
                              Form ID: b18w               Total Noticed: 23


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 9, 2015 at the address(es) listed below:
              Charles L. Magerski    on behalf of Debtor John Ross Myers Cmagerski@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.com;mbadwan@sulaimanlaw.co
               m;sulaiman.igotnotices@gmail.com;bkecf_sulaiman@bkexpress.info
              Glenn B Stearns    mcguckin_m@lisle13.com
              Josephine J Miceli    on behalf of Creditor   Matrix Financial Services Corporation
               Jo@johnsonblumberg.com
              Kenneth W Bach   on behalf of Creditor    Matrix Financial Services Corporation
               kennethb@johnsonblumberg.com, bkecfnotices@johnsonblumberg.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
                                                                                              TOTAL: 5
